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 4

 5
     Attorney for Defendant
     RICARDO VENEGAS
 6
                             IN THE UNITED STATES DISTRICT COURT
 7
                           FOR THE EASTERN DISTRICT OF CALIFORNIA
 8

 9
     UNITED STATES OF AMERICA,                       )       No. CR-S-06-0441 GEB
                                                     )
10
                                                     )
            Plaintiff,                               )       STIPULATION AND
11
                                                     )       [PROPOSED ORDER] CONTINUING
     v.                                              )       STATUS CONFERENCE
12
                                                     )
     WENDALL STEWART, et al,                         )       Date: January 13, 2012
13
                                                     )       Time: 9:00 a.m.
                                                     )       Judge: Honorable Garland E. Burrell, Jr.
14          Defendants.                              )
                                                     )
15
                                                     )
                                                     )
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17
            IT IS HEREBY stipulated between the United States of America through its undersigned
18
     counsel, Jill M. Thomas, Assistant United States Attorney, together with counsel for defendant
19
     Ricardo Venegas, John R. Manning, Esq., counsel for defendant Vigilio Pineda, David D.
20
     Fischer, Esq., counsel for defendant Wendell Stewart, Candace A. Fry, Esq., and counsel for
21
     defendant Isauro Jauregui Catalan, Edward C. Bell, Esq., that the status conference presently set
22
     for November 4, 2011 be continued to January 13, 2012, at 9:00 a.m., thus vacating the
23
     presently set status conference.
24
            Further, all of the parties, the United States of America and all of the defendants as stated
25
     above, hereby agree and stipulate that the ends of justice served by the granting of such a
26
     continuance outweigh the best interests of the public and the defendants in a speedy trial and that
27
     time under the Speedy Trial Act should therefore be under meaning of Title 18, United States
28
     Code§ 3161(h)(7)(B)(iv) (continuity of counsel/ reasonable time for effective preparation,


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 1   specifically the continuance is requested to allow more time for defense preparation and possible
 2   negotiations for resolution) and Local Code T4, and agree to exclude time from the date of the
 3   filing of the order until the date of the status conference, January 13, 2012.
 4   IT IS SO STIPULATED.
 5
     Dated: November 1, 2011                                        /s/ John R. Manning
 6                                                                 JOHN R. MANNING
                                                                   Attorney for Defendant
 7                                                                 Ricardo Venegas
 8
     Dated: November 1, 2011                                       /s/ David D. Fischer
 9                                                                 DAVID D. FISCHER
                                                                   Attorney for Defendant
10                                                                 Vigilio Pineda
11
     Dated: November 1, 2011                                       /s/ Candace A. Fry
12                                                                 CANDACE A. FRY
                                                                   Attorney for Defendant
13                                                                 Wendell Stewart
14
     Dated: November 1, 2011                                        /s/ Edward C. Bell
15                                                                 EDWARD C. BELL
                                                                   Attorney for Defendant
16
                                                                   Isauro Jauregui Catalan
17

18   Dated: November 1, 2011                                       Benjamin B. Wagner
                                                                   United States Attorney
19

20                                                         by:     /s/ Jill M. Thomas
                                                                   JILL M. THOMAS
21                                                                 Assistant U.S. Attorney
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 7
                             IN THE UNITED STATES DISTRICT COURT
                           FOR THE EASTERN DISTRICT OF CALIFORNIA
 8

 9

     UNITED STATES OF AMERICA,                      ) No. CR-S-06-0441 GEB
10
                                                    )
                                                    )
11          Plaintiff,                              ) [PROPOSED] ORDER TO
                                                    ) CONTINUE STATUS CONFERNCE
12
     v.                                             )
                                                    )
13
     WENDALL STEWART, et al.,                       )
                                                    )
14
                                                    )
            Defendants.                             )
15
                                                    )
                                                    )
16
                                                    )
17

18
            GOOD CAUSE APPEARING, it is hereby ordered that the November 4, 2011 status
19

20
     conference be continued to January 13, 2012 at 9:00 a.m. I find that the ends of justice warrant
     an exclusion of time and that the defendant’s need for continuity of counsel and reasonable time
21

22
     for effective preparation exceeds the public interest in a trial within 70 days. THEREFORE IT

23
     IS FURTHER ORDERED that time be excluded pursuant to 18 U.S.C. § 3161 (h) (7) (B) (iv)

24
     and Local Code T4 from the date of this order to January 13, 2012.

25
     IT IS SO ORDERED.
     Date: 11/7/2011
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27
                                                          _________________________
28                                                        GARLAND E. BURRELL, JR.
                                                          United States District Judge


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                           Case 2:06-cr-00441-DAD Document 406 Filed 11/07/11 Page 4 of 4



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 2   DEAC_Signature-END:




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